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 3
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 5
                                  UNITED STATES DISTRICT COURT
 6
                           FOR THE EASTERN DISTSRICT OF CALIFORNIA
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 8                                                      )   Case No. CR S 04-0205
     UNITED STATES OF AMERICA,                          )
 9                                                      )   STIPULATED MOTION AND [Lodged]
                     Plaintiff,                         )   ORDER TO REDUCE SENTENCE
10                                                      )   PURSUANT TO 18 U.S.C. § 3582(c)(2)
            vs.                                         )
11                                                      )   RETROACTIVE CRACK COCAINE
     CHHOM MAO,                                         )   REDUCTION CASE
12                                                      )
                     Defendant                          )
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            Defendant, Chhom Mao, by and through his attorney, Timothy E. Warriner, and
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     plaintiff, United States of America, by and through its counsel, First Assistant U.S. Attorney
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     Phillip A. Talbert, hereby stipulate as follows:
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        1. Pursuant to 18 U.S.C. § 3582(c)(2), this Court may reduce the term of imprisonment in
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19          the case of a defendant who has been sentenced to a term of imprisonment based on a

20          sentencing range that has subsequently been lowered by the Sentencing Commission

21          pursuant to 28 U.S.C. § 994(o);
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        2. Mr. Mao’s offense was found to have involved to 210 grams of cocaine base. When his
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            sentence was originally calculated, the base offense level was 34 and his criminal history
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            category was III. The Court determined the guideline range to be 188 to 235 months, and
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            sentenced Mr. Mao to the bottom of the guideline range or 188 months.
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        3. After Mr. Mao’s original sentencing, the Sentencing Commission retroactively amended
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              the guideline offense level for crack cocaine, effective May 1, 2008. The base offense

 3            level of 34 was reduced by two levels to a level 32, which produced a guideline range of

 4            151 to 188 months imprisonment. Pursuant to a stipulation, the Court thereafter
 5            resentenced Mr. Mao to a term of 151 months on November 7, 2008.
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        4. The Sentencing Commission has again retroactively amended the guideline offense level
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              for crack cocaine in Amendment 750. Mr. Mao’s new offense level is 30, and with a
 8
              criminal history category of III, his new resulting guideline range is 121 to 151 months.
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        5. Accordingly, the parties request the court enter the order lodged herewith reducing Mr.
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11            Mao’s term of imprisonment to a term of 121 months, which is a sentence within the

12            amended guideline range.

13   DATED: November 8, 2011                        /s/ Timothy E. Warriner, Attorney for Defendant,
                                                    Chhom Mao
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     DATED: November 8, 2011                        /s/ Philip A. Talbert, First Assistant U.S. Attorney
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17                                                 ORDER

18            This matter came before the Court on the stipulated motion of the defendant for reduction
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     of sentence pursuant to 18 U.S.C. § 3582(c)(2).
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              On November 7, 2008, the Court resentenced Mr. Mao to a term of 151 months. The
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     parties agree, and the Court finds, that Mr. Mao is entitled to the benefit of the retroactive
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     amendment reducing crack cocaine penalties, which reduces the applicable offense level from 32
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24
     to 30.

25            IT IS HEREBY ORDERED that the term of imprisonment is reduced to a term of 121

26   months.
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                IT IS FURTHER ORDERED that all other terms and provisions of the original judgment
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     remain in effect.

 3              Unless otherwise ordered, Mr. Mao shall report to the United States Probation office

 4   closest to the release destination within seventy-two hours after his release.
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     11/22/11
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                                                 GARLAND E. BURRELL, JR.
 8                                               United States District Judge
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